USPS -frack & Confirm Case 07-11047-CSS Doc 9693-6 lied hodifaOstd.usp>ooyePIl StgrnetWeb/InterLabel Inquiry.do

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POSTAL SERVE» —‘Drn\oloan'. Not Delivered by Grchificel (rai) vom | Het

SO “Track & Confirm
Track & Confirm

Search Results

Label/Receipt Number: 7196 9006 9820 3903 9760 Tete
Expected Delivery Date: January 7, 2014 Track & Confirm Cone he
Class: Priority Mail® Enter LabelReceipt Number.

Service(s): Certified Mail”
Return Receipt Electronic
Status: Notice Left

We attempted to deliver your item at 12:02 pm on January 10, 2011 in
WILMINGTON, DE 19801 and a notice was left. You may pic< up the item
at the Post Office indicated on the notice, go to www.usps.convredelivery,
or call 800-ASK-USPS to arrange for redelivery. If this item is unclaimed
after 15 days then it will be returned to the sender. informatio, if
available, is updated periodically throughout the day. Please check again
later.

Detailed Results:

* Notice Left, January 10, 2011, 12:02 pm, WILMINGTON. DE 19801
* Arrival at Unit, January 10, 2011, 7:47 am, WILMINGTON, DE 19801
* Acceptance (APC), January 05, 2011, 2:49 pm, STONE MOUNTAIN, GA 30087

Notitication Options

Track & Confirm by email
Get current event information or updates for your item sent tc you or others by email. Go >

Return Receipt (Electronic)
Verify who signed for your item by email. . Go »

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